     Case 8:09-cv-00693-DOC-RNB Document 8 Filed 09/17/09 Page 1 of 2 Page ID #:29



 1   Nicholas J. Bontrager, Esq. (SBN 252114)
     Krohn & Moss, Ltd.
 2   10635 Santa Monica Blvd, Suite 170
     Los Angeles, CA 90036
 3
     T: (323) 988-2400; F: (866) 802-0021
 4
     nbontrager@consumerlawcenter.com
     Attorneys for Plaintiff,
 5   DESISLAVA KRAPF
                             UNITED STATES DISTRICT COURT
 6                          CENTRAL DISTRICT OF CALIFORNIA
 7
                                  WESTERN DIVISION

 8
     DESISLAVA KRAPF,                               ) Case No.: SACV-09-0693
 9                                                  )
                                                    )
10                                                  )
                    Plaintiff,                      )       VOLUNTARY DISMISSAL
11                                                  )
            v.                                      )
12                                                  )
     AMERICAN CORADIUS                              )
13                                                  )
     INTERNATIONAL, LLC,
14
                    Defendant.
15

16
                            VOLUNTARY DISMISSAL WITH PREJUDICE
17
            Plaintiff, DESISLAVA KRAPF, by and through his attorneys, KROHN & MOSS, LTD.,
18
     hereby voluntarily dismisses the above-entitled case with prejudice.
19

20

21
     Dated: September 17, 2009                            KROHN & MOSS, LTD.
22

23
                                                          By:/s/ Nicholas J. Bontrager
24
                                                              Nicholas J. Bontrager
25
                                                          Attorneys for Plaintiff,
                                                          DESISLAVA KRAPF
                                                    -1-

                                            Voluntary Dismissal
     Case 8:09-cv-00693-DOC-RNB Document 8 Filed 09/17/09 Page 2 of 2 Page ID #:30



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25



                                            -2-

                                    Voluntary Dismissal
